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                      IN THE UNITED STATES DISTRICT COURT
                     FOR THE NORTHERN DISTRICT OF ILLINOIS
                                EASTERN DIVISION

ILYA and RIMMA TARKOV,                               )
                                                     )        Case No.: 1:15-cv-03430
                       Plaintiffs,                   )
                                                     )        Honorable John J. Tharp, Jr.
v.                                                   )
                                          )     Honorable Young B. Kim
FRONTIER AIRLINES, INC.,                  )
                                          )
                  Defendant.              )
______________________________________________________________________________

       DEFENDANT FRONTIER AIRLINES, INC.’S REPLY IN SUPPORT OF ITS
                   MOTION FOR SUMMARY JUDGMENT

        Defendant Frontier Airlines, Inc. (“Frontier”), by and through its counsel, respectfully

submits this Reply in support of its Motion for Summary Judgment and states as follows:

I.      ALL FACTS IN FRONTIER’S RULE 56.1 STATEMENT OF FACTS ARE
        DEEMED ADMITTED.

        In support of its Motion for Summary Judgment, Frontier filed a Local Rule 56.1

Statement of Facts. (Doc. 113) In support of their opposition to Frontier’s Motion for Summary

Judgment, Plaintiffs filed a LR 56.1(b)(3)(B) response to Frontier’s Local Rule 56.1 Statement of

Facts, asserting numerous denials. (Doc. 120-4)          However, Plaintiffs failed to cite to any

affidavit or evidence in the record to support such denials. Id. Indeed, not one denial in

Plaintiffs’ LR 56.1 response includes a reference to an affidavit or the record, contrary to what is

required under LR 56.1 (b)(3)(B) to support a denial.

         “[W]here a non-moving party denies a factual allegation by the party moving for

summary judgment, that denial must include a specific reference to an affidavit or other part of

the record that supports such a denial.” Ammons v. Aramark Unif. Servs., Inc., 368 F.3d 809, 817

(7th Cir. 2004). The court will disregard any assertions by the non-moving party that are not


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supported with specific record citations. Pumputyte v. United Airlines, Inc., No. 16 C 4868, 2018

U.S. Dist. LEXIS 38786, at *3 (N.D. Ill. Mar. 9, 2018), citing Schwab v. N. Ill. Med. Ctr., 42 F.

Supp. 3d 870, 874 (N.D. Ill. 2014). A party’s obligation to support its facts with evidence is

mandatory, and the Seventh Circuit repeatedly has held that a district court is within its

discretion to enforce strict compliance with the requirements of Local Rule 56.1. FirstMerit

Bank, N.A. v. 2200 N. Ashland, LLC, 2014 U.S. Dist. LEXIS 159741, at *10 (N.D. Ill. Nov. 13,

2014), citing Patterson v. Indiana Newspapers, Inc., 589 F.3d 357, 359 (7th Cir. 2009).

         Here, because Plaintiffs fail to include any reference to an affidavit or the record in their

LR 56.1(b)(3)(B) response, all facts asserted in Frontier’s LR 56.1 Statement of Facts are

deemed admitted. See Pumputyte, 2018 U.S. Dist. LEXIS 38786, at *3-9 (Plaintiff’s denials cite

to her affidavit for support, but the affidavit does not address the facts in United’s LR 56.1

statement, so the facts are deemed admitted.).

II.      PLAINTIFFS’ LR 56.1 (b)(3)(C) STATEMENT OF ADDITIONAL FACTS
         FAILS TO IDENTIFY EVIDENCE RELATING TO MATERIAL FACTS.

         A Rule 56.1 statement of additional facts is not the place to make legal arguments.

Judson Atkinson Candies, Inc. v. Latini-Hohberger Dhimantec, 529 F.3d 371, 382 n.2 (7th Cir.

2008) (“It is inappropriate to make legal arguments in a Rule 56.1 statement of facts. We have

held that a district court has broad discretion to require strict compliance with Local Rule

56.1.”) (internal citations omitted); Hartford Fire Ins. Co. v. Taylor, 903 F. Supp. 2d 623, 633

(N.D. Ill. 2012) (a party’s statement of material facts submitted pursuant to Local Rule 56.1 is

improper where it is “filled with irrelevant information, legal arguments, and conjecture.”). The

purpose of the Local Rule 56.1 statement of facts is to identify the relevant evidence supporting

material facts, not to make factual or legal argument. Cady v. Sheahan, 467 F.3d 1057, 1060

(7th Cir. 2006). Material facts are those that affect the outcome of the lawsuit. Total Serv.

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Telecom, Inc. v. Dire Communs., LLC, 2015 U.S. Dist. LEXIS 130450, at *3 (N.D. Ill. Sep. 28,

2015).

         In their LR 56.1 (b)(3)(C) Statement of Additional Facts, Plaintiffs assert only one

purported fact: that Mr. Tarkov observed another airplane departing Punta Cana International

Airport on March 28, 2015.       Mr. Tarkov’s observation, however, does not undermine or

challenge the established (and deemed admitted) facts that (1) there was a radar system outage

at the Punta Cana Airport on March 28, 2015, and (2) it would have been unlawful and unsafe

for Frontier to operate Flight 41 without a functioning and operational radar system. The

aircraft Mr. Tarkov claims he observed could have been a general aviation aircraft (operations

other than scheduled air services and non-scheduled air transport operations for hire) not

subject to the same rules and regulations to which commercial operators are subject. It also

could have been an aircraft operating in violation of rules and regulations, jeopardizing the

safety of its occupants and those on the ground. Whatever the case may have been with the

“other airplane,” there is nothing about Mr. Tarkov’s observation that addresses or relates to the

radar system outage at the Punta Cana Airport on March 28, 2015, whether it was unlawful or

unsafe for Frontier to operate Flight 41 without a functioning airport radar system, or any other

issue before this Court.

         In short, Plaintiffs’ LR 56.1 (b)(3)(C) Statement of Additional Facts fails to identify

evidence to support any material facts. Thus, Plaintiffs’ LR 56.1 (b)(3)(C) Statement of

Additional Facts cannot provide a basis to dispute that there was a radar system outage at the

Punta Cana Airport on March 28, 2015, which made it impossible for Frontier to avoid the

delay of Plaintiffs’ return to Chicago.



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III.   FRONTIER’S MOTION FOR SUMMARY JUDGMENT SHOULD BE GRANTED
       BECAUSE THERE ARE NO MATERIAL FACTS AT ISSUE.

       A.      Summary Judgment Should be Granted on Count I.

       Article 19 explicitly states that a carrier shall not be liable for damages relating to

a delay if it was “impossible” for the carrier to take measures to avoid the delay. See

Dochak v. Polskie Linie Lotnicze LOT S.A., 2017 WL 2362570, at *8 (N.D. Ill. May 30,

2017). Article 19 thus recognizes a complete defense when forces outside of an airline’s

control prevent it from avoiding a flight delay or cancelation. Pumputyte, 2018 U.S. Dist.

LEXIS 38786, at *11-12.

       Here, Frontier has established, through its uncontested and undisputed LR 56.1 Statement

of Material Facts, that it was impossible for it to operate flights in and out of Punta Cana

Airport on March 28, 2018 due to the Airport’s radar system outage. (LR 56.1 ¶¶ 12-19) In their

response to Frontier’s Motion for Summary Judgment, Plaintiffs failed to identify any material

facts that undermine or dispute Frontier’s submission that the cancelation of the subject flight

was caused by an unavoidable and unforeseen outage of the radar system at the Punta Cana

Airport. See Bernfeld v. US Airways, Inc., 2016 U.S. Dist. LEXIS 52997, 2016 WL 1583057, at

*2 (N.D. Ill. Apr. 20, 2016) (Plaintiffs “d[id] not controvert US Airways’ assertion that the bird

strike that took aircraft 507 out of service was unpredictable and unavoidable. Nor d[id] they

offer any evidence controverting US Airways’ evidence that it attempted to substitute another

aircraft but that no suitable aircraft were available and that the only remaining option was to

rebook the Bernfelds on the next available flight. The Bernfelds offer[ed] no argument, let alone

evidence, identifying any reasonable measure that US Airways could have taken, but failed to

take, in order to avoid or minimize the delay in the Bernfelds’ travel”).




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       Rather, the undisputed facts show that, as a result of the radar outage, Frontier could not

avoid the cancelation of Plaintiffs’ flight on March 28, 2015. (LR 56.1 ¶¶ 12-19) It is also

undisputed that as soon as the radar system was operational, Frontier promptly proceeded with

Plaintiffs’ flight back to Chicago. (LR 56.1 ¶¶ 12-19) Given this, no reasonable juror could find

that Frontier could have taken reasonable measures to avoid the overall delay. See Dochak,

2017 WL 2362570, at *10 (granting summary judgment in an Article 19 suit where “the

undisputed facts establish that [the] delays were caused by unavoidable and unforeseen

mechanical issues with the aircraft.” Accordingly, summary judgment is appropriate because

Frontier has met its burden by showing “there is an absence of evidence to support [Plaintiffs’]

case” as to Count I. Celotex Corp. v. Catrett, 477 U.S. 317, 325, 106 S. Ct. 2548, 91 L. Ed. 2d

265 (1986).

       B.      Summary Judgment Should be Granted on Count II And on The Issue of
               Damages.

       Because all the facts in Frontier’s LR 56.1 Statement of Facts have been deemed

admitted, and Plaintiffs’ LR 56.1 (b)(3)(C) Statement of Additional Facts failed to assert any

material facts pertinent to Count II or the issue of damages, summary judgment should be

granted in regard to both. Dull v. Am. Signature, Inc., 2004 U.S. Dist. LEXIS 26167, at *16

(N.D. Ill. Dec. 30, 2004) (“The consequence of the non-moving party’s failure to comply with

Local Rule 56.1(b)(3)(B) is that this court will not consider any of the additional facts raised in

his brief.”). Facts submitted in a brief but not presented in a Local Rule 56.1 statement are

disregarded in resolving a summary judgment motion.” Beard v. Don McCue Chevrolet, Inc.,

2012 U.S. Dist. LEXIS 99618, at *5 (N.D. Ill. July 18, 2012); Dull, 2004 U.S. Dist. LEXIS

26167, at *8 (N.D. Ill. (“the penalty for failing to properly respond to a [56.1(a)(3) Statement] is




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usually summary judgment for the movant ... because the movant’s factual allegations are

deemed admitted.”).

       Even if the rules allowed the consideration of facts asserted only in a brief, Count II and

Plaintiffs’ damages claims still would fail as a matter of law because Plaintiffs do not assert any

facts in their response brief that would put at issue any material facts. Plaintiffs simply present

vague arguments and legal conclusions without identifying any facts to support their positions.

Accordingly, summary judgment should be granted on Count II and the issue of damages.

Dated: April 4, 2018                         Respectfully submitted,

                                             /s/ Brian T. Maye

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                                CERTIFICATE OF SERVICE

       The undersigned attorney certifies that on April 4, 2018, he served the foregoing
document by electronically filing the same with the Clerk of the U.S. District Court for the
Northern District of Illinois by using the CM/ECF system, which will send notification of such
filing to all CM/ECF participants.

                                           /s/ Brian T. Maye




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